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                  Exhibit A
Submitted Pursuant to Local Civil Rules 5.2(b)
                and 26.2(d).
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                  Meta’s Interrogatory No. 10 (served Mar. 30, 2022)
INTERROGATORY NO. 10:

        For each feature or activity available to users on Facebook, Instagram, WhatsApp, or

Facebook Messenger, specify whether the feature or activity is or is not within the definition of

“personal social networking” (see Amended Complaint ¶ 164).


      FTC’s Initial Response to Interrogatory No. 10 (served Apr. 29, 2022)

RESPONSE TO INTERROGATORY NO. 10:

        The FTC notes that “Interrogatory No. 10” constitutes at least the nineteenth, twentieth,

twenty-first, and twenty-second interrogatory served by Meta, as it contains at least four discrete

interrogatories or discrete subparts. See supra, Responses to “Interrogatory No. 1,” “Interrogatory

No. 2,” and “Interrogatory No. 3.” As “Interrogatory No. 10” purports to require the FTC to (i) assess

each “feature or activity available to users” for each product identified, and also to (ii) identify

whether each is or is not within “the definition of ‘personal social networking services,’” it in fact

contains numerous discrete subparts.

        The FTC further objects to “Interrogatory No. 10” as premature because it seeks information

and evidence subject to ongoing factual discovery, which is not scheduled to close until May 22,

2023, and because it seeks information and evidence which may be the subject of expert discovery,

which is not scheduled to close until January 5, 2024. The FTC also reserves the right to supplement

its response to this contention interrogatory, including through ongoing factual discovery and the

provision of expert reports appropriately submitted pursuant to the stipulated schedule for expert

discovery. The FTC further objects to “Interrogatory No. 10” to the extent that it seeks to discover

information and communications, including any mental impressions of counsel, that are protected




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from disclosure due to the work product privilege, deliberative process privilege, and any other

applicable privilege.

        The FTC objects to the terms “feature” and “activity” as vague, ambiguous, overly broad,

and unduly burdensome. The FTC further objects to the terms “feature” and “activity” because the

Substitute Amended Complaint does not describe “personal social networking services” based on

particular “features” or “activities” that such services make “available to users.”

        Subject to and without waiving its General and Specific Objections, the FTC responds as

follows. The FTC’s Substitute Amended Complaint describes “personal social networking services”

as “online services that enable and are used by people to maintain personal relationships and share

experiences with friends, family, and other personal connections in a shared social space.” Substitute

Amended Complaint ¶ 166. As further described in the Substitute Amended Complaint, there are

three key elements that distinguish personal social networking services from other forms of online

services provided to users: (1) “personal social networking services are built on a social graph that

maps the connections between users and their friends, family, and other personal connections,” (2)

“personal social networking services include features that many users regularly employ to interact

with personal connections and share their personal experiences in a shared social space, including in

a one-to-many ‘broadcast’ format,” and (3) “personal social networking services include features that

allow users to find and connect with other users, to make it easier for each user to build and expand

their set of personal connections.” Substitute Amended Complaint ¶¶ 167-69. Further, the Substitute

Amended Complaint distinguishes personal social networking services from other types of online

services. See, e.g., id. at ¶ 172 (mobile messaging), ¶ 173 (specialized social networking services,

such as professional or interest-based networks), ¶ 174 (online services focusing on broadcast or

discovery of content, rather than personal connections), ¶ 175 (online services focused on video or

audio consumption), ¶¶ 177-79 (explaining that Facebook’s own statements and documents indicate

“it understands the distinction between personal social networking services and other services”).

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FTC’s Supplemental Response to Interrogatory No. 10 (served June 14, 2022)

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 10:

       Based on discussions and correspondence among counsel, Meta has informed the FTC

that Meta intends “Interrogatory No. 10” and “Interrogatory No. 12” to focus on identifying

whether a particular activity constitutes “use of PSNS,” as referenced in Substitute Amended

Complaint (SAC) ¶ 202. 1 See Huff 5/10/2022 Letter at 3 (citing SAC ¶ 202; FTC Opp. to

Motion to Dismiss at 6-7). Without conceding that it is appropriate for Meta to revise

“Interrogatory No. 10” to depart from the originally propounded text such that it effectively

propounds a different request, in the spirit of cooperation, the FTC agreed to supplement its

responses to “Interrogatory No. 10” and “Interrogatory No. 12” to address the substance of

Meta’s intended meaning. Matheson 5/13/2022 Letter at 1.

       The FTC restates the foregoing General and Specific Objections to Interrogatory No. 10,

in relation to Meta’s revised “Interrogatory No. 10.” The FTC further objects to Meta’s revised

“Interrogatory No. 10” on grounds that it is vague, ambiguous, overly broad, and unduly

burdensome in that it impractically and unnecessarily asks the FTC to enumerate each activity

that either constitutes or does not constitute “using personal social networking services,”

notwithstanding Meta’s own recognition—without regard to enumerating an exhaustive list of

specific activities—that personal social networking services are distinct, and are a core focus of

Facebook Blue and Instagram. SAC ¶¶ 177-79; infra at 6-7.



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  See SAC ¶ 202 (“Facebook recognizes that Facebook Blue and Instagram are
predominantly used as personal social networking services. . . . [E]ven if one were to assume,
arguendo, that half of the time that U.S. users spend on Facebook Blue and Instagram was not in
fact spent using personal social networking services, Facebook would still have maintained a
dominant share of the U.S. personal social networking market.”).

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       Subject to and without waiving its General and Specific Objections, the FTC responds as

follows.

       The FTC’s SAC describes “personal social networking services” as “online services that

enable and are used by people to maintain personal relationships and share experiences with

friends, family, and other personal connections in a shared social space.” SAC ¶ 166. The SAC

further identifies distinguishing elements of personal social networking services, namely that

they (i) are “built on a social graph that maps the connections between users and their friends,

family, and other personal connections,” (ii) have “features that many users regularly employ to

interact with personal connections and share their personal experiences in a shared social space,

including in a one-to-many ‘broadcast’ format,” and (iii) have “features that allow users to find

and connect with other users, to make it easier for each user to build and expand their set of

personal connections.” Id. ¶¶ 167-69.

       Facebook Blue

       Facebook Blue has provided personal social networking services since its launch in 2004.

A user’s use of personal social networking services on Facebook Blue can entail, inter alia,

sharing “personal updates, interests, photos, news, and videos” with their friends, family, and

other personal connections they have “friended” on Facebook Blue. SAC ¶ 168. Use of personal

social networking services on Facebook Blue can also entail, inter alia, viewing a friend’s posts.

Id. ¶ 21. Use of personal social networking services can additionally entail, inter alia, using

features such as “People You May Know” that allow users to find and connect with other users.

Id. ¶ 169.

       Meta recognizes the foregoing types of activities—maintaining personal connections and

sharing content and experiences with those connections—as the core use case of Facebook Blue.



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                                                    Meta’s top executives have also testified that

“friends and family” is the core of Facebook Blue. E.g., Meta CEO Mark Zuckerberg IH at 184

(testifying that “the use cases that we’ve focused on the most over time are helping you connect

. . . with your friends and family”); Meta COO Sheryl Sandberg IH at 46 (testifying that the

value Facebook Blue provides to its users is “helping you stay in touch with friends and family

and helping you know what’s going on with them in a very efficient way”);




       Notably, the FTC is not yet aware of Meta documents or testimony that exhaustively list

every activity captured in this “core use case,” though Meta nonetheless recognizes and discusses

its existence. Moreover, Meta recognizes its unmatched position with respect to this use case,

and the market power it provides. SAC ¶ 212 (Facebook executive in May 2012: “Why are we

hard to compete with. Your friends are here. You have made a big investment in your Facebook

network and identity.”).

       Meta emphasizes the core “friends and family” sharing use case more for certain “display



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surfaces” (or “surfaces” for short) within the Facebook Blue app and website and makes those

surfaces central to the user experience. When users open the Facebook Blue app, they are

presented with the “Home” screen, which includes “Feed” (previously called “News Feed”) and

“Stories.” Feed became the default surface when it was introduced in 2006 and remains the

default surface today. Meta’s top executives describe Feed as central to Facebook Blue. E.g.,

Meta CEO Mark Zuckerberg IH at 59, 63

                                                                                 ; Meta COO Sheryl

Sandberg IH at 48 (                                                                           Feed

shows an algorithmically curated feed of posts from a user’s friends, family, and other personal

connections, as well as advertisements and other content. Feed also allows users to share

pictures, updates, and other content with their friends, family, and other personal connections

and to react to and comment on such content from their friends, family, and other personal

connections. The Home screen of the Facebook Blue app also includes “Stories” (introduced in

2017) above the Feed when a user opens the app. Stories allows users to view ephemeral posts

from and share such posts with their friends, family, and other personal connections.

       Ordinary course evidence indicates that Meta positions Feed, Stories, and Timeline (a

sequential collection of a user’s posts, updates, and other activity) for use of personal social

networking services.




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       Meta’s public statements also indicate that Feed is aimed at encouraging connections and

sharing between friends and family. In a June 2016 Facebook blog post titled “Building a Better

News Feed for You,” articulating Meta’s “News Feed Values,” the Company’s first listed value

is “Friends and Family Come First.” See https://about.fb.com/news/2016/06/building-a-

betternews-feed-for-you/. The post explains that “Facebook was built on the idea of connecting

people with their friends and family. That is still the driving principle of News Feed today.” Id.

       Facebook Blue also allows users to use personal social networking services through other

activities, such as, inter alia: (i) viewing and editing their Facebook profiles, (ii) viewing their

friends’ profiles, (iii) viewing a user’s own Timeline of posts, comments, and other interactions

with their friends, family, and other personal connections, (iv) viewing friends’ Timelines, (v)

using the Search function to find friends, family, and other personal connections and content


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from such personal connections, (vi) using “People You May Know” and other tools to find and

connect with friends, family, and other personal connections.

          Over time, Meta has added additional surfaces to Facebook Blue, such as “Marketplace”

(introduced in 2016) and “Dating” (introduced in 2019). At least some of these surfaces appear

to be offering different services than personal social networking services, such as online

shopping and dating services. The FTC nonetheless is still exploring whether and the extent to

which Meta uses these surfaces to foster and/or provide personal social networking services, for

example, through shared use of core social assets such as one’s identity on Facebook Blue,

through integration with other aspects of Facebook Blue, or through sharing with friends and

family.                                           Moreover, the FTC is also examining the

extent to which these surfaces may bolster Meta’s dominant position in personal social

networking services, for example, by increasing barriers to entry into the provision of personal

social networking services from network effects and switching costs.

          Instagram

          Personal social networking services are also a core aspect of Instagram and have been

since its launch in 2010. For example, a pre-acquisition investor slide deck dated May 31, 2011,

underscored Instagram’s founders’ plan “to develop a complete social networking service.”

                                 A user’s use of personal social networking services on Instagram

can entail, inter alia, sharing “personal updates, interests, photos, news, and videos” with their

friends, family, and other personal connections that “follow” the user on Instagram. SAC ¶ 168.

A user’s use of personal social networking services on Instagram can also entail, inter alia,

viewing posts from friends, family, and other personal connections they have “followed.” Id. ¶

21. A user’s use of personal social networking services on Instagram can additionally entail,



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inter alia, using features such as “Discover people” that allow users to find and connect with

other users. Id. ¶ 169.

        Ordinary course documents confirm the centrality of the core friends and family sharing

use case on Instagram.



                                           ; https://about.instagram.com/features (“Create and

share with your friends . . . . Our features help you express yourself and connect with the people

you love.”).

        Like Facebook Blue, when a user opens Instagram, they are presented with the Home

screen, which includes “Feed” and “Stories.” Since its launch in 2010, “Instagram Feed” (or

“Feed” for short) was and remains the default surface on Instagram. Feed shows an

algorithmically curated feed of content from friends, family, and other accounts that a user

follows. Meta also describes Instagram as targeting a core “friends and family” use case.



                                                                  Additionally, like Facebook Blue,

Instagram’s Home screen includes a “Stories” surface (introduced in 2016) which is displayed

above the Feed and which allows users to view ephemeral posts from their friends, family, and

other personal connections and accounts they follow.

        Instagram also allows users to use personal social networking services through other

activities, such as, inter alia: (i) viewing and editing their Instagram profiles, (ii) viewing their

friends’ profiles, (iii) viewing a user’s own posts, (iv) viewing a timeline or other collection of

posts from a users’ friends, family, and other personal connections, (v) using the Search function

to find friends, family, and other personal connections, (vi) using “Discover people” and other



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tools to find and connect with friends, family, and other personal connections.

       Meta has also added other surfaces to Instagram such as Instagram Shops (released in

2020). At least some of these surfaces appear to be offering different services than personal

social networking services, such as online shopping. The FTC nonetheless is still exploring

whether and the extent to which Meta uses these surfaces to foster and/or provide personal social

networking services, for example, through shared use of core social assets such as one’s identity

on Instagram, through integration with other aspects of Instagram, or through sharing with

friends and family. Moreover, the FTC is also examining the extent to which these surfaces may

bolster Meta’s dominant position in personal social networking services, for example, by

increasing barriers to entry into the provision of personal social networking services from

network effects and switching costs.

       Messenger

       In 2008, Facebook launched an instant messaging platform on its web application called

“Facebook Chat.” Users could use the instant messaging platform to communicate directly with

other users rather than broadcast posts. In 2011, Facebook launched “Facebook Messenger,” a

standalone mobile messaging application. While the application is separate from the Facebook

Blue mobile application, Facebook messenger integrates a user’s Facebook Blue “friend list” and

their messaging activity on Facebook Chat into the messaging application.

       Facebook Messenger provides mobile messaging services. SAC ¶ 19. While Meta’s

leadership recognized that mobile messaging was a path for a competitive threat to enter the

personal social networking services market, id. ¶¶ 107-112, Meta also recognized that mobile

messaging services are distinct from personal social networking services, id. ¶ 172. Meta CEO

Mark Zuckerberg described this distinction in a 2019 post, calling personal social networking



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providers like Facebook Blue “the digital equivalent[] of the town square,” and contrasting the

private communication offered by mobile messaging apps as “the digital equivalent of the living

room.” Id. Thus, as alleged in the SAC, Messenger’s mobile messaging services are distinct

from and not reasonably interchangeable with personal social networking services. Id.

       Meta integrates Messenger with personal social networking services Meta offers through

Facebook Blue and Instagram. For example, Meta provides functionality for users to cross-post

Stories between Facebook Blue, Instagram, and Messenger. Additionally, Messenger allows

users to view and interact with Stories from their Facebook Blue friends. The FTC is still

exploring whether and the extent to which Meta uses these integrations to provide Facebook

Blue and Instagram personal social networking services through Messenger. The FTC is also

examining the extent to which these integrations may bolster Meta’s dominant position in

personal social networking services, for example, by increasing barriers to entry into the

provision of personal social networking services from network effects and switching costs.

       WhatsApp

       WhatsApp provides mobile messaging services. SAC ¶19. As noted above for

Messenger, while Meta’s leadership recognized that mobile messaging was a path for a

competitive threat to enter the personal social networking services market, id. ¶¶ 107-112, Meta

also recognized that mobile messaging services are distinct from personal social networking

services, id. ¶ 172. Thus, as alleged in the SAC, WhatsApp’s mobile messaging services are

distinct from and not reasonably interchangeable with personal social networking services. Id.

       Additionally, the FTC is exploring whether and to what extent Meta has integrated

WhatsApp with personal social networking services Meta offers through Facebook Blue and

Instagram. For example, Meta provides functionality for users to cross-post between Facebook



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Blue, Instagram, and WhatsApp. The FTC is also exploring the degree to which WhatsApp

integrates with Facebook Blue’s and Instagram’s social graphs through the

        See, e.g.,



                           . The FTC is still exploring whether and the extent to which Meta

uses these integrations to provide Facebook Blue and Instagram personal social networking

services through WhatsApp. The FTC is also examining the extent to which these integrations

may bolster Meta’s dominant position in personal social networking services, for example, by

increasing barriers to entry into the provision of personal social networking services from

network effects and switching costs.




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